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            UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF VIRGINIA
                            Abingdon Division


UNITED STATES OF AMERICA

v.
                                                     REPORT AND
APRIL SHANNON HUTSON, et al.,                        RECOMMENDATION
                                                     Case Number:
       Defendants                                    1:10cr00002-027




       This matter is before the undersigned on the Defendant’s Motion To Dismiss
Indictment, (Docket Item No. 633), filed on behalf of Brandon Kincer, (“Motion”).
Based on the arguments and representations of counsel and for the reasons set forth
below, I recommend that the court deny the Motion.


                                       I. Facts


       Kincer is charged along with 35 other defendants with one count of conspiracy
to distribute and possess with intent to distribute five kilograms or more of cocaine,
oxycodone and hydrocodone in violation of 21 U.S.C. § 846. The Indictment alleges
that this conspiracy existed “[o]n or about and between January 1, 2003 and January
13, 2010.” (Docket Item No. 57). Kincer was born in April of 1989. Kincer did not
turn 18 years of age until April 2007, more than four years after the inception of this
alleged conspiracy.



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      The government initiated this drug conspiracy charge by Criminal Complaint
prior to the return of the Indictment. The Affidavit offered in support of the Criminal
Complaint contains the following allegations against Kincer:


            On December 1, 2008, Brandon Kincer was interviewed in Bristol,
      TN. Kincer stated that Kevin Roark was the ex-husband of Shannon
      HUTSON. KINCER stated that he had observed ROARK in possession
      of seven (7) or eight (8) ounces of cocaine and 100 dosage units of 80
      mg OxyContin. Kincer stated that he had purchased ounces of cocaine
      from ROARK.

             ... KINCER stated that Josh SNYPES was a cocaine distributor,
      and a son of Shannon HUTSON. KINCER stated that he had purchased
      “8 balls” (1/8 ounce) of cocaine and eight (8) to ten (10) dosage units of
      OxyContin from SNYPES at a time. KINCER stated that he was with
      SNYPES when SNYPES met with his sister, Kari PARKS, to obtain
      OxyContin and cocaine. KINCER stated that SNYPES received
      OxyContin from PARKS, but she would not part with the cocaine as she
      was “waiting on more.”

              ... KINCER stated that Robert PARKS was a cocaine distributor,
      and a son of Shannon HUTSON. KINCER stated that he had purchased
      1/4 ounces of cocaine from PARKS on approximately seven (7) different
      occasions. KINCER stated that these transactions occurred at PARKS’
      trailer located on Weaver Pike in Bristol, TN.

             ...KINCER stated that Randy PARKS was the son of Rhonda
      HUTSON. KINCER stated that he purchased approximately 1/8 ounce
      of cocaine to one (1) ounce of cocaine from PARKS on approximately
      fifteen (15) occasions. KINCER stated that PARKS charged $175.00 to
      $200.00 per 1/8 ounce and $1,000.00 to $1,200.00 per ounce of cocaine.

             KINCER stated that PARKS resided with HUTSON on Broyles
      Ln. in Bristol, TN. KINCER stated that the cocaine transactions with
      PARKS occurred in the driveway of HUTSON’s residence. KINCER
      stated that on occasion, PARKS had to go to the residence of Nate LNU

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  to obtain the cocaine. KINCER stated that Nate LNU resided in the
  Bristol Heights Trailer Park on Weaver Pike.

         ...KINCER stated that Rhonda HUTSON was a large scale cocaine
  distributor in Bristol, TN. KINCER stated that in 2007, he accompanied
  Paul Thomas to the residence of HUTSON approximately every four (4)
  or five (5) days for four (4) or five (5) months to purchase cocaine.
  KINCER stated that Thomas obtained approximately ten (10) ounces of
  cocaine on each trip to HUTSON’s residence. KINCER stated that in or
  about December, 2006, he observed HUTSON in possession of one
  kilogram of cocaine.

         ...KINCER stated that Junior STILTNER was the boyfriend of
  Rhonda HUTSON and they owned a guttering and vinyl business
  together. KINCER stated that his father, Dewayne Jones, obtained one
  (1) to 1½ ounces of cocaine several times a day from HUTSON and
  STILTNER. KINCER stated that Jones would sell several ounces of
  cocaine a day to Raymond HILLIARD.

        ... On March 22, 2008, Paul Thomas was shot and killed by
  Sullivan County, TN Deputy Kevin Morrell following a high speed
  chase. Seized from Thomas’ vehicle following the incident were
  approximately one (1) ounce of cocaine and three cellular telephones.
  Contained in one cell phone were the following text messages from
  telephone number (423) 383-1347 (saved in the Contacts List under
  Raymond):

               March 14, 2008 at 1:00 a.m. – “It’s Ray, Let me o
        whats up if tonight r not. People wanting. I’m going to have
        to do something. Thanks. Ray.”
               March 18, 2008 at 4:08 a.m. – “I have 2 people
        waiting. I need to no either way so ill o what to do. Call me
        please. Raymond.”
               March 18, 2008 at 4:43 a.m. – “Paul I have people
        here that rely on me and I realy on u. Let us no u r ok that
        nothing has happen u guys, ok. I will come to u I got ur?”



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             ... KINCER stated that HILLIARD broke down the ounces into “8
      balls” (1/8 ounce), grams, and “fifties” (½ gram) for resale. KINCER
      stated that he was at HILLIARD’S residence on one occasion when he
      observed Sam HUTSON drop off what he believed to be cocaine.

             ... KINCER stated that he and Paul Thomas were partners in the
      distribution of cocaine. KINCER stated that he accompanied Thomas to
      the residence of Rhonda HUTSON on many occasions to purchase
      cocaine. KINCER stated that he co-mingled his money with Thomas to
      purchase the cocaine. KINCER stated that he never co-mingled more
      than $2,000.00 with Thomas’ money. KINCER stated that in 2007,
      Thomas purchased ten (10)ounces of cocaine from HUTSON
      approximately every four (4) or five (5) days for four (4) or five (5)
      months. KINCER stated that he and Thomas took the cocaine to
      Thomas’ residence (located in Bristol, VA) and broke it down into
      smaller quantities for resale. KINCER stated that he would receive one
      (1) to 1½ ounces out of the ten (10) ounces of cocaine purchased from
      HUTSON. KINCER stated that Thomas provided him (KINCER) with
      cocaine for $900.00 per ounce.


      The affidavit also contains allegations that cooperating sources purchased
cocaine from Raymond Hilliard on December 13, 2007, January 16, 2008, and March
11, 2008.


                                   II. Analysis


      Kincer argues that the Indictment should be dismissed against him because he
qualifies as a “juvenile” under the Juvenile Delinquency Act, 18 U.S.C.A. § 5031 et
seq. (West 2000). The Juvenile Delinquency Act prohibits the prosecution in federal
court, except under certain exceptional circumstance, of a violation of federal law
committed by a person prior to his eighteenth birthday. See 18 U.S.C.A. §5032 (West


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2000). Kincer argues that he qualifies as a “juvenile” under the Act because he still
has not reached 21 years of age. The Act defines a “juvenile” as “a person who has not
attained his eighteenth birthday, or for purpose of proceedings and disposition under
this chapter for an alleged act of juvenile delinquency, a person who has not attained
his twenty-first birthday.” 18 U.S.C.A. § 5031 (West 2000). The Act defines
“juvenile delinquency” as a “violation of a law of the United States committed by a
person prior to his eighteenth birthday.” 18 U.S.C.A. § 5031. Therefore, the Act’s
definition of “juvenile” does include persons who have not yet reached 21 years of
age, but only if those persons are being prosecuted for an act of juvenile delinquency
that occurred before they reached 18 years of age. The government argues that, while
the Criminal Complaint sets forth acts taken by Kincer in furtherance of the
conspiracy prior to reaching 18 years of age, it is proceeding against him as an adult
based on his continued involvement in the conspiracy after he reached age 18.


      The Fourth Circuit has addressed the exact issue raised by Kincer in his Motion.
In United States v. Spoone, 741 F.2d 680, 687 (4th Cir. 1984), an 18-year-old
defendant in an auto theft conspiracy case argued that the federal district court lacked
jurisdiction to admit evidence pertaining to a defendant’s acts committed while he was
a juvenile. The Fourth Circuit rejected the argument, stating:


      Unlike most federal offenses, conspiracy is a continuing crime. The
      Juvenile Delinquency Act does not, of course, prevent an adult criminal
      defendant from being tried as an adult simply because he first became
      embroiled in the conspiracy with which he is charged while still a minor.

Spoone, 741 F.2d at 687. The court found that the government in Spoone had
presented sufficient evidence from which the jury could infer that the defendant’s

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involvement in the alleged conspiracy continued after he turned 18. See 741 F.2d at
687. The court also held that the jury was entitled to hear evidence showing that the
defendant had known of the conspiracy since its inception, which was before he
turned 18, although the jury could not consider any acts committed while a juvenile
as evidence of his guilt. See Spoone, 741 F.2d at 687. See also United States v.
Claiborne, 92 F. Supp. 2d 503, 514 (E.D. Va. 2000) (government may prosecute an
adult for participation in a conspiracy that began prior to the defendant’s eighteenth
birthday provided that the defendant engaged in some overt act indicating his
ratification of the conspiracy after attaining the age of 18; evidence of juvenile acts
may not be considered as substantive evidence of guilt, but may be admitted for the
limited purpose of putting the defendant’s subsequent post-eighteen conduct within
the context of the conspiracy).


      Thus, if the government can produce evidence in this case that Kincer’s
involvement in the alleged conspiracy continued after he turned 18, then the
government should be allowed to produce evidence of Kincer’s involvement in the
alleged conspiracy from its inception. Based on the evidence alleged in the Criminal
Complaint, it appears that the government can produce evidence from which a jury
could infer that Kincer’s involvement in this conspiracy continued after he turned 18
in April 2007. That being the case, I will recommend that the Motion be denied.


                       PROPOSED FINDINGS OF FACT
                        AND CONCLUSIONS OF LAW

      As supplemented by the above summary and analysis, the undersigned now
submits the following formal findings, conclusions and recommendations:

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      1.    The Indictment in this case charges a drug conspiracy
            beginning on or about January 1, 2003, and continuing until
            January 13, 2010;
      2.    Kincer did not turn 18 years old until April 2007;
      3.    The Juvenile Delinquency Act does not prevent a defendant
            from being prosecuted for a conspiracy he joined prior to
            turning 18 years old, if his involvement in the conspiracy
            continued after turning 18 years old; and
      4.    It appears that the government can produce evidence that
            Kincer’s involvement in this alleged drug conspiracy
            continued after he reached 18 years of age.


                      RECOMMENDED DISPOSITION


      For the reasoning set out above, the undersigned recommends that this court
deny the Motion.


                                 Notice to Parties


      Notice is hereby given to the parties of the provisions of 28 U.S.C.A.
§ 636(b)(1)(c):
              Within fourteen days after being served with a copy [of
              this Report and Recommendation], any party may serve
              and file written objections to such proposed findings and
              recommendations as provided by rules of court. A judge
              of the court shall make a de novo determination of those
              portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of
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              the court may accept, reject, or modify, in whole or in
              part, the findings or recommendations made by the
              magistrate judge. The judge may also receive further
              evidence or recommit the matter to the magistrate judge
              with instructions.

      Failure to file timely written objections to these proposed findings and
recommendations could waive appellate review.


      The Clerk is directed to send certified copies of this Report and
Recommendation to all counsel of record at this time. At the conclusion of the 14-day
period, the Clerk is directed to transmit the record in this matter to the Honorable
James P. Jones, Chief United States District Judge.


      DATED:        This 1st day of April 2010.



                                       /s   Pamela Meade Sargent
                                              UNITED STATES MAGISTRATE JUDGE




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